                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   at WINCHESTER

  KRISTOPHER R. MAJORS, and                     )
  CARIE MAJORS,                                 )
                                                )
  Plaintiffs,                                   )
                                                )          Case No. 4:12-cv-58
  v.                                            )
                                                )          Judge Mattice
  STATE AUTO INSURANCE COMPANY,                 )
  and CITIMORTGAGE, INC.,                       )
                                                )
  Defendants.                                   )

                                           ORDER

         On June 28, 2013, the Court ordered Plaintiffs to show cause “as to why

  Citimortgage, Inc. should not be dismissed from this action without prejudice” based on

  Plaintiff’s failure to effect service on Citimortgage, Inc. pursuant to Federal Rule of Civil

  Procedure 4(m).      (Doc. 19).    Plaintiffs responded to the Court’s Order, stating,

  “[C]ircumstances in this case do not require at the time the act of participation of

  Citimortgage, Inc. As a results, plaintiffs have no objection to Citimortgage, Inc. being

  dismissed without prejudice.”      (Doc. 20).     The remaining Defendant, State Auto

  Insurance Company, did not respond to, or otherwise object to the dismissal of

  Citimortgage, Inc. from this action.

         The Court finds that just terms dictate that all claims against Defendant

  Citimortgage, Inc. be DISMISSED WITHOUT PREJUDICE and that Defendant

  Citimortgage, Inc. should thus be DISMISSED as a party to this litigation. See Fed. R.

  Civ. P. 21 (“On motion or on its own, the court may, at any time, on just terms, add or

  drop a party.”).



Case 4:12-cv-00058-HSM-WBC Document 21 Filed 10/21/13 Page 1 of 2 PageID #: 200
       SO ORDERED this 21st day of October, 2013.



                                              /s/ Harry S. Mattice, Jr._______
                                              HARRY S. MATTICE, JR.
                                           UNITED STATES DISTRICT JUDGE




                                       2

Case 4:12-cv-00058-HSM-WBC Document 21 Filed 10/21/13 Page 2 of 2 PageID #: 201
